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                EXHIBIT C
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Aaron Marr Page

From:                Steven Donziger <sdonziger@donzigerandassociates.com>
Sent:                Wednesday, May 12, 2021 7:00 AM
To:                  Aaron Marr Page; Garbus, Martin; Ronald Kuby
Subject:             DOJ declination to intervene




From: Taylor, William W. <wtaylor@zuckerman.com>
Sent: Friday, May 7, 2021 4:39 PM
To: Steven Donziger <sdonziger@donzigerandassociates.com>; Reiser, David A. <DReiser@zuckerman.com>
Subject: Fwd: Donzinger


 EXTERNAL

Fyi

Sent from my iPhone

Begin forwarded message:

From: "Carlin, John P. (ODAG)" <John.P.Carlin@usdoj.gov>
Date: May 7, 2021 at 3:34:50 PM EDT
To: "Taylor, William W." <wtaylor@zuckerman.com>
Cc: "Lan, Iris (ODAG)" <Iris.Lan3@usdoj.gov>, "Loeb, Emily M. (ODAG)" <Emily.M.Loeb@usdoj.gov>, "Newman, David A.
(ODAG)" <David.A.Newman@usdoj.gov>
Subject: Donzinger


Bill,

The Department has received your letters in the Donziger matter. Having reviewed the letters, the Department declines
to intervene in the federal‐court initiated contempt proceedings.

Hope you are well,

John




                                                          1
